Case 2:12-cv-01063-JGB-SP Document 2 Filed 02/08/12 Pagelof1 Page ID#:3

NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEYS) FOR, OR, PLAINILFF OR Fr | Lo E C
DEFENDANT IF PLAINTIFF OR DEFENDANTIS PRO PER

ELLEN R. SERBIN, State Bar No. 128895
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- RIVERSIDE
ATTORNEYS FOR, Plaintiff, Victoria L. Sanborn RY:

 

UNITED STATES DISTRICT COURT
CENTRALE DISTRICT OF CALIFORNIA

VICTORIA L. SANBORN, CASE NUMBER:
V12 069 C:°

Plaintiff(s), 0 1 iF oO Sp
Vv. " _ y

 

ABBOTT VASCULAR INC., a Delaware CERTIFICATION AND NOTICE
Corporation; ABBOTT LABORATORIES, an OF INTERESTED PARTIES
Ilinois Corporation; and DOES | through 59, Defendant(s) (Local Rule 7.1-1)

 

TO: THE COURT AND ALL PARTIES APPEARING OF RECORD:

The undersigned, counsel of record for _ Plaintiff, VICTORIA L. SANBORN,

(or party appearing in pro per), certifies that the following listed party (or parties) may have a direct, pecuniary
interest in the outcome of this case. These representations are made to enable the Court to evaluate possible
disqualification or recusal. (Use additional sheet if necessary.)

PARTY CONNECTION

(List the names of all such parties and identify their connection and interest.)

 

 

VICTORIA L. SANBORN Plaintiff
ABBOTT VASCULAR INC. Defendant and Division of Abbott Laboratories
ABBOTT LABORATORIES Defendant and Employer

February 6, 2012 Zo dL.

Date Sign

ELLEN R. SERBIN, Attorney for Plaintiff, Victoria L. Sanborn

Attomey of record for or party appearing in pro per

 

NOTICE OF INTERESTED PARTIES

CV¥-30 (4/10)
